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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division


 UNITED STATES OF AMERICA,et al.,

                        Plaintiffs,

                                                     Civil Action No. 1:23cv0I08(LMB/JFA)

 GOOGLE LLC,

                        Defendant.



                                               ORDER


        This matter is before the court on plaintiffs' motion to seal certain portions of their reply

 in support of their motion to exclude testimony of Anthony Ferrante along with exhibit D and a

 portion of exhibit E to the reply. (Docket no. 698). In the memorandum in support ofthe motion

 to seal, plaintiffs state that they redacted portions of the reply and exhibit E and filed under seal

 exhibit D based on defendant designating that information as confidential. (Docket no. 699). On

 June 14, 2024, defendant filed a response to this motion stating that it had no objection to the

 unsealing of exhibit D (expert report of Anthony J. Ferrante dated January 23, 2024). (Docket

 no. 841 at 10). While defendant's response does not address the redactions in the reply directly,

 the redactions on pages 3, 8, 13, 15, and 16 all relate to information contained in exhibits B and

 D to the reply. The court has previously ordered exhibit B to be unsealed and exhibit D is being

 unsealed pursuant to this order. Accordingly, there is no basis for having the information in the

 reply remain under seal. However, defendant requests that a single portion of exhibit E (selected

 pages from the rebuttal expert report of Dr. Wenke Lee)remain under seal. (Docket no. 841-1 at

 23). It appears that none of the numerous third parties have raised any specific concerns about

 the information contained in this filing being in the public record.
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         Initially, the court finds that the materials filed relating to this motion require an analysis

 of the public's access under the First Amendment standard requiring that access may be

 restricted only if it is necessitated by a compelling government interest and the denial of access is

 narrowly tailored to serve that interest. See Va. Dep't ofState Police v. Wash. Post, 386 F.3d

 567, 575(4th Cir. 2004); Doe v. Pub. Citizen, 749 F.3d 246, 266(4th Cir. 2014). Having

 reviewed the submissions of the parties and considering the Fourth Circuit's directives, the court

 finds


         1. That the motion to seal the reply in support of the motion to exclude testimony of

             Anthony Ferrante is denied.

         2. The motion to seal exhibit D is denied.

         3. The motion to seal exhibit E is granted in part and denied in part. Defendant's

             response requests that only a portion offootnote 47 on page 22 of the rebuttal expert

             report of Wenke Lee remain under seal. Defendant argues that information should

             remain under seal "because it contains details regarding Google's non-public,

             proprietary security process." (Docket no. 841-1 at 23). While it is unclear if the

             information in this footnote remains sensitive given the time period indicated, the

             court will allow this information to remain under seal at this time.' This portion of

             exhibit E was not cited by plaintiffs in their reply or referred to in their reply.

         In accordance with this Order, within seven days plaintiffs shall file in the public record

 an unredacted version of the reply in support of the motion to exclude testimony of Anthony




       'This ruling is subject to reconsideration by the District Judge if this document is
 intended to be used during the trial of this case. As set forth in the court's June 24, 2024 Order
 (Docket no. 871), a hearing may be held before the District Judge on August 9, to address any
 objections to the public use of confidential documents or testimony designations during trial.
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 Ferranle along with exhibit D. Plaintiffs shall also file in the public record a version of exhibit E

 in which only the portion of footnote 47 on page 22 of the rebuttal expert report of Wenke Lee as

 requested by defendant is redacted.

        Entered this 9th day of July, 2024.
                                                                     /S/.
                                                       John F. Anderson

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 Alexandria, Virginia                                  United States Magistrate Judge
